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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
       v.                                    §       Case No. 4:22-cr-612
                                             §
CONSTANTINESCU, et al.                       §       The Honorable Andrew S. Hanen
                                             §
       Defendants.                           §

     United States’ Response in Opposition to Defendant Constantinescu’s Motion for
                                        Extension

       The United States, by and through undersigned counsel, opposes Defendant’s belated

request for an extension of the expert disclosure deadline because Defendant has not demonstrated

good cause for his failure to comply with the Court’s Amended Scheduling Order (ECF No. 254),

and an extension would be prejudicial and disrupt these proceedings. Defendant has had the

necessary information for months to prepare a report, let alone hire an expert, and apparently has

failed to do so. This gamesmanship should be denied.

       The United States produced the trading and social media records—the pillars of this case—

in January 2023. The United States made clear at the March 14, 2023 hearing that it would be

hiring a witness to analyze and testify to the trading and social media records. On March 31, 2023,

the United States voluntarily identified specific at-issue trading sequences. At that point,

Defendants’ expert work could have begun in earnest, and before that on substantive counts.

       On April 27, 2023, the Court issued the Amended Scheduling Order setting the deadlines

in this case, with which the United States has worked diligently to comply. (ECF No. 254.) In

accordance with that Order, on June 15, 2023, the United States produced its reports and identified

the specific at-issue trading sequences for trial. On August 11, 2023, the United States duly filed

its exhibit list in accordance with the Court’s Order. On August 12, 2023 (Saturday), the United
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States sent to each Defendant via FedEx a courtesy copy of its trial exhibits. Defendant

Constantinescu again seeks to malign the United States’ good-faith efforts by attempting to draw

a false equivalency with his disregard for the Court’s Scheduling Order. (See, e.g., ECF No. 355

at 2 (claiming somehow that the United States “belatedly” produced its trial exhibits).)

       Indeed, at the April 12, 2023 hearing, the Court said in no uncertain terms: “Right now I’m

leaving the October trial date where it is. And Mr. Ford, that may mean some late nights for you;

but I’m still leaving it where it is.” (Apr. 12, 2023 Hr’g Tr. at 60:11–14.) Instead of respecting the

Court’s Scheduling Order and advice, Defendant seeks to litigate this case on his own schedule.

       Moreover, Defendant continues to engage in slights of hand in bids to help himself. For

example, the United States’ trial exhibits are not comprised of materials “the government did not

previously produce to the defense” as Defendant claims. (ECF No. 355 at 2.) On August 17 and

18, undersigned counsel repeatedly reached out to counsel for Defendant Constantinescu for more

information about these supposed documents. On August 18, counsel for Defendant

Constantinescu said she was leaving for the airport to travel out of the country and would “try” to

connect next week.

       The United States’ exhibits are materials—and summaries thereof—from information that

has been in Defendants’ possession for months. There is no excuse for Defendant just now—two

days after the expert disclosure was due—to raise for the first time he has yet to hire an expert, let

alone prepare a disclosure, and to request an extension of time to do so.

       Defendant has not articulated good cause for an extension and the requested extension

would be prejudicial, with Defendants’ exhibits due August 25 and motions in limine due on

September 13. The United States respectfully defers to the Court’s judgment and stands ready to

proceed to trial on October 23.



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Dated: August 18, 2023             Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 18, 2023, I will cause the foregoing brief to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will provide copies to counsel

for all parties.



                                               /s/ John J. Liolos
                                               John J. Liolos, Trial Attorney
                                               U.S. Department of Justice
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